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            EXHIBIT E
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 1                         UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA
 2
                             CASE NO. 19-CV-24704-JEM
 3
      BLUEGREEN VACATIONS UNLIMITED,
 4    INC., et al.,

 5                                             Miami, Florida
                        Plaintiff(s),
 6                                             August 26, 2021
                  vs.
 7
      MONTGOMERY & NEWCOMB, LLC,
 8    et al.,

 9
                     Defendant(s).       Pages 1 - 211
10    -----------------------------------------------------------

11                               MOTION HEARING
                   BEFORE THE HONORABLE ALICIA M. OTAZO-REYES
12                       UNITED STATES MAGISTRATE JUDGE

13    APPEARANCES:

14    FOR THE PLAINTIFF(S):      ERIC CHRISTU, ESQ.
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 1    APPEARANCES (CONT'D)

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 7    REPORTED BY:               Joanne Mancari, RPR, CRR, CSR
                                 Court Reporter
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 1    Thereupon,

 2    the following proceedings were held via Zoom videoconference:
 3               THE DEPUTY CLERK:     Bluegreen Vacations Unlimited,

 4    Inc., et al. v. The Montgomery Law Firm, case No. 19 24704,

 5    civil, Martinez.

 6               Counsel, please state your appearances for the record.

 7               MR. HART:    Good morning, your Honor.      Jonathan Hart

 8    and Eric Christu, Shutts & Bowen, on behalf of plaintiffs.

 9               MR. CHRISTU:    Good morning, your Honor.

10               THE COURT:    Good morning.

11               MR. WAUGH:    Good morning, your Honor.      I'm Christian

12    Waugh, and I'm joined by Reba Abraham Pearce, from Waugh Grant,

13    PLLC, on behalf of Montgomery & Newcomb Law.

14               THE COURT:    All right.

15               MR. DUBBIN:    Your Honor, Sam Dubbin, Dubbin & Kravetz,

16    LLP, representing defendant Square One Development Group, Inc.

17               THE COURT:    All right.    Thank you very much.

18               We are here on the motion for a preliminary injunction

19    by, I will call them the Montgomery & Newcomb defendants, and

20    they are moving for this preliminary injunction as to Count III

21    of their counterclaim which alleges a violation of the Clayton

22    Act (inaudible) antitrust litigation.

23               I have reviewed the papers.

24               I am getting some feedback.       Let's see.    Whoever is

25    not speaking -- that seemed to help.
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 1               As I was saying, the preliminary injunction is sought

 2    under Count III of the counterclaim filed by Montgomery &

 3    Newcomb Law defendants.        I have reviewed the papers.     What I

 4    usually do in this case is I ask for the evidence to be

 5    presented first and, then depending on the timing, I may ask

 6    for closing arguments, I may ask for just briefs.           It depends

 7    on how the timing works out.

 8               So I did receive, I believe, exhibit and witness list.

 9               Let me ask Mr. Waugh -- how do I say your name?           I

10    always butcher it.

11               MR. WAUGH:    You got it right, your Honor.       It is

12    Waugh.    Thank you.

13               THE COURT:    OK.   So let's see.    What evidence do you

14    plan to present in support of the motion for preliminary

15    injunction?

16               MR. WAUGH:    Your Honor, besides what we have in the

17    papers, I believe we have five witnesses who will be offering

18    testimony on the record today.

19               THE COURT:    All right.    Is there any issue -- I'm

20    looking here for your exhibit list to see if there is any issue

21    with the proposed exhibits.        Are there objections -- your

22    exhibit list is docket entry 137.        Are there objections to

23    those exhibits?     It is eight exhibits.

24               I guess I will hear from Mr. Hart.

25               MR. HART:    Yes, your Honor.     Not necessarily, although
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 1    that had their name in it.

 2    Q    And were in fact fees split with the lawyer defendants as a

 3    result thereof as stated in Judge Martinez's order?

 4    A    If that means that we collected some money for a client and

 5    then paid the lawyers, then the answer to that is yes.

 6    Q    And with respect to the fees that were paid to the lawyer

 7    defendants, were you personally involved in that process of

 8    paying them?

 9    A    Yes.

10    Q    And do you know how much the lawyer defendants received for

11    their participation in this scheme?

12    A    I believe from my company north of a million and a half.

13    Q    In excess of a million and a half dollars?

14    A    Yes.

15    Q    And that you personally were involved in the getting of

16    those funds to the lawyer defendants?

17    A    Correct.

18    Q    Mr. Hemingway, how is it that this scheme was able to get

19    customers to pay the exit companies such large sums of money,

20    which I understand could be 10, 20, 30, 40,000 dollars?           How is

21    it that it was able to convince the customers to pay those kind

22    of sums?

23    A    There are kind of three things that are important in

24    closing a deal with a client at a table.         One of those things

25    is offering a 100 percent money-back guarantee.          One is having
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 1    attorneys on your side, on the sales team side, that lends

 2    legitimacy to the endeavor.       And three, that in order to entice

 3    the client to pay the sales team to get out of the timeshare,

 4    they are generally not able to also continue to make the

 5    financial obligations to the resort.        So if they can be, you

 6    know, convinced of that by the salesperson, then generally the

 7    sale -- it was easier to make the sale.

 8    Q    For them to pay the exit company and stop paying the

 9    developer?

10    A    Correct.

11    Q    And that was known by all that were involved in the

12    presentation of the sales pitches to the customers, correct?

13    A    It would be hard not to know that, yes.

14    Q    And it was known by Mr. Montgomery and Mr. Newcomb,

15    correct?

16    A    I can't speak for what they knew personally, but they would

17    have been involved in -- they were involved in many, many

18    conversations that had to do with the payment of maintenance

19    fees and mortgage payments.

20    Q    And you personally had those conversations with them

21    regarding that this was the way to pitch the customers,

22    correct?

23    A    It is the way the sales team pitched the customers, yes.

24    Q    Yes.   And they were aware of that?

25    A    Yes.
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 1     Q    Well, OK.   So are you aware of any instance in which

 2     Montgomery & Newcomb instructed a Bluegreen owner not to pay

 3     their financial obligations to Bluegreen?

 4     A    I am not.

 5     Q    As part of that third prong, is it your testimony that --

 6     actually, let me ask you this.

 7               Were most of the sales made to people who were already

 8     unable to afford their timeshare obligations?

 9               MR. CHRISTU:     Objection to form, your Honor.       I think

10     there is no foundation for how Mr. Hemingway would know about

11     each individual customer's --

12               THE COURT:    If he knows.    You can ask him do you know,

13     Mr. Waugh.

14     BY MR. WAUGH:

15     Q    Do you know, Mr. Hemingway, if most of the persons who you

16     ended up referring to lawyer defendants were already generally

17     unable to pay their interests?

18     A    I don't have an answer for that.       I didn't speak with most

19     of the clients personally.

20     Q    But that was an important part of the sales model, correct?

21     A    It was an important part of the sales model.

22     Q    How do you know it is an important part of the sales model?

23     A    Because I was very familiar with the sales model.

24     Q    Is a corollary to that that you would anticipate more

25     referrals from people who were generally unable to pay than
